      Case 4:05-cr-00024-SPM-WCS      Document 114     Filed 03/03/06    Page 1 of 1


                                                                                   Page 1 of 1


                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                            CASE NO. 4:05cr24-SPM

FATAI TAIWO,

        Defendant.
                                       /


                          ACCEPTANCE OF GUILTY PLEA

        Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, and subject to the Court’s

consideration of any Plea Agreement pursuant to Fed. R. Crim. P. 11(e)(2), the plea of

guilty of the defendant, FATAI TAIWO, to Count One of the indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

        DONE AND ORDERED this 3rd day of March, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
